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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

 UNITED STATES OF AMERICA
                                                     No. 19-CR-302
       v.
                                                     Judge John J. Tharp Jr.
 MICHAEL P. GANNON


             GOVERNMENT’S RULE 12.4 DISCLOSURE STATEMENT

      Federal Rule of Criminal Procedure 12.4(a)(2) requires the government to file

a statement “identifying any organizational victim of the alleged criminal activity.”

If the victim is a corporation, the rule requires the government to identify any parent

corporation and any publicly held corporation that owns 10% or more of its stock. The

purpose of the Rule 12.4 Disclosure Statement is to assist judges in determining

whether they must recuse themselves because of a financial interest in the subject

matter in controversy. Fed. R. Crim. P. 12.4 advisory committee’s note. At this time,

the government has identified the following entities as potential victims of the alleged

criminal activity and discloses them to the Court:

      1.     Arlington Heights School District 25

      2.     Avery Coonley School

      3.     Baker Tilly Virchow Krause, LLP

      4.     Casa Central Social Services Corporation

      5.     Northwestern Medicine Central DuPage Hospital

      6.     City of Elgin

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 7.     College of DuPage

 8.     Community Consolidated School District 15

 9.     DeVry University, Inc.

 10.    Donlen Corporation

 11.    East Aurora School District 131

 12.    Equity Office Management, LLC

 13.    Essendant, Inc.

 14.    Extended Care Consulting, LLC

 15.    Gottlieb Memorial Hospital

 16.    HAVI Logistics North America, LLC

 17.    Lake Forest School District 67

 18.    Lake Park Community High School District 108

 19.    Little Company of Mary Hospital and Health Care Centers

 20.    Motorola Mobility, LLC

 21.    Northern Suburban Special Education District

 22.    Northbrook Park District

 23.    Rantoul City Schools District #137

 24.    The Salvation Army

 25.    Sciaky, Inc.

 26.    United States General Services Administration

 27.    University of Illinois at Chicago


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 28.    Women's Practice, LLC

 29.    Water Street Healthcare Partners, LLC.

 30.    Westchester School District No. 92 1/2

 31.    WeWork Companies Inc.



                                    Respectfully submitted,




                                     _____________________________________
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